       Case 21-15842-RG          Doc 51      Filed 01/26/22 Entered 01/26/22 12:14:59         Desc Main
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 Marie-Ann Greenberg MAG-1284
 Marie-Ann Greenberg, Standing Trustee
 30 TWO BRIDGES ROAD
 SUITE 330
 FAIRFIELD, NJ 070041550
 973-227-2840
 Chapter 13 Standing Trustee

                                                        UNITED STATES BANKRUPTCY COURT
                                                        DISTRICT OF NEW JERSEY
 IN RE:
 YOYSETT I. BAKER-GONZALEZ                              Case No.: 21-15842RG
 JOEL GONZALEZ
                                                        CERTIFICATION IN SUPPORT OF DEFAULT

I, Jessica Antoine, being of full age certify that:

  I am a Paralegal for Marie-Ann Greenberg, Standing Trustee, and am familiar with the facts of this case.

  The above Chapter 13 petition was scheduled for a Confirmation/Motion Hearing before The Honorable
  ROSEMARY GAMBARDELLA.

  On 10/22/2021, Judge ROSEMARY GAMBARDELLA ordered that the debtor(s) herein was not to be more
  than 30 days in default with respect to their Chapter 13 payments.

  In the event the debtor(s) did not make said payments, the Standing Trustee may file a certification
  and an Order to dismiss the instant Chapter 13 petition.


  The last payment was received on 12/16/2021, and the debtor(s) are currently delinquent in the amount of
  $1,328.00.
  This certification is being made pursuant to said Order.
  For the reasons set forth above, the Trustee recommends this case be dismissed.
  Any objection to this Certification of Default must be filed with the court and served upon the Chapter 13
  Trustee within 14 days of 01/26/2022.

I certify that the foregoing statements made by me are true. I am aware that if any of the foregoing statements
made by me are willingly false, I am subject to punishment.



                                                       By:    /S/ Jessica Antoine
 Dated: January 26, 2022
                                                             Jessica Antoine
